Case 21-13926-SLM       Doc 44    Filed 01/18/22 Entered 01/18/22 18:53:20           Desc Main
                                 Document      Page 1 of 1
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UNITED STATES BANKRUPTCY COURT                    Hearing Date : 02/09/2022 10:00AM
DISTRICT OF NEW JERSEY
------------------------------X
IN RE:                                             Case No. 21-13926 (SLM)
     Shanae Lyles
               Debtor                              Chapter 13
------------------------------X


                     NOTICE OF MOTION TO AUTHORIZE SALE

TO ALL PARTIES:


    PLEASE TAKE NOTICE that upon the annexed affirmation of Shanae Lyles a motion

pursuant to 11 U.S.C. Section 105(a) and 11 U.S.C. Sections 363 will be made as follows:


                             JUDGE:                Hon. Stacey L. Meisel


       RETURN DATE AND TIME:                       02/09/2022 10:00AM


                             PLACE:                U.S. Bankruptcy Court
                                                   50 Walnut Street
                                                   Newark, N.J. 07102

              RELIEF REQUESTED:                 An order permitting Debtor sell free and clear of
                                              liens and encumbrances


       BASIS FOR RELIEF REQUESTED:                 11 USC 363

DATED: January 10, 2022
      Mahwah, NJ                              /s/ Shmuel Klein
                                               Shmuel Klein
                                               Law Office of Shmuel Klein, PA
